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       6062 Alcoa Properties, L.P. and The Latt
 13    Sisters Partnership
 14                        UNITED STATES DISTRICT COURT
 15                       CENTRAL DISTRICT OF CALIFORNIA
 16    CHRIS LANGER,                           Case: 2:18-CV-02002-AB-AGR
 17                Plaintiff,                  JOINT STIPULATION FOR
 18    v.                                      DISMISSAL PURSUANT TO
 19    6062 ALCOA PROPERTIES, L.P.,            F.R.CIV.P. 41 (a)(1)(A)(ii)
       a California Limited Partnership;
 20    THE LATT SISTERS
       PARTNERSHIP, a California
 21    General Partnership; WON SUK
       KIM; and Does 1-10,
 22
                   Defendants.
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      Joint Stipulation for Dismissal          Case: 2:18-CV-02002-AB-AGR
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  1                                     STIPULATION
  2
  3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
  4   between the parties hereto that this action may be dismissed with prejudice
  5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
  6   This stipulation is made as the matter has been resolved to the satisfaction of
  7   all parties.
  8
  9   Dated: June 1, 2018                CENTER FOR DISABILITY ACCESS
 10
 11                                            /s/ Phyl Grace
                                         By: _____________________________
                                               Phyl Grace
 12                                            Attorneys for Plaintiff
 13
 14   Dated: June 1, 2018                STIMPERT AND FORD LLP
 15
                                              /s/ Daniel P. Stimpert
                                         By: ____________________
 16                                            Daniel P. Stimpert
 17                                            Attorney for Defendants
                                               6062 Alcoa Properties, L.P. and The
 18                                            Latt Sisters Partnership
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      Joint Stipulation for Dismissal             Case: 2:18-CV-02002-AB-AGR
Case 2:18-cv-02002-AB-AGR Document 19 Filed 06/03/18 Page 3 of 3 Page ID #:55




  1                         SIGNATURE CERTIFICATION
  2
  3   I hereby certify that the content of this document is acceptable to Daniel P
  4   Stimpert, counsel for 6062 Alcoa Properties, L.P. and The Latt Sisters
  5   Partnership, and that I have obtained Mr. Stimpert’s authorization to affix
  6   his electronic signature to this document.
  7
  8   Dated: June 1, 2018               CENTER FOR DISABILITY ACCESS
  9
 10                                           /s/ Phyl Grace
                                        By: _____________________________
                                              Phyl Grace
 11                                           Attorneys for Plaintiff
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      Joint Stipulation for Dismissal              Case: 2:18-CV-02002-AB-AGR
